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 7                          UNITED STATES DISTRICT COURT
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                 Case No. 12CR0315-JAM
10                                  )
                    Plaintiff,      )
11                                  )                 ORDER TO MODIFY
          v.                        )                 CONDITIONS OF RELEASE
12                                  )
     MICHAEL LLAMAS,                )
13                                  )
                    Defendant.      )
14   ______________________________)
15         IT IS HEREBY ORDERED that Mr. Michael Llamas shall be allowed to travel
16   abroad from November 13, 2014 and return on November 25, 2014. Pre-trial services
17   shall return Mr. Llamas’ passport which he is ordered to return to pre-trial services upon
18   his return. Prior to his travel, Mr. Llamas must provide pre-trial services his itinerary 72
19   hours prior to his departure and shall maintain e-mail contact with pre-trial services.
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22   Dated: 11/10/2014                                /s/ John A. Mendez
23                                                    HON. JOHN A. MENDEZ
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